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Bryan D. Glass                               E-mail: bglass@ghnylaw.com                             12/29/2020
    Partner

                                               December 29, 2020          Plaintiff's letter motion is GRANTED. The
                                                                          referenced letter and exhibits will be filed under
      Via Email RomanNYSDChambers@nysd.uscourts.gov                       seal. The Clerk of the Court is kindly directed
      Honorable Nelson S. Román                                           to terminate the motion at ECF No. 58.
      United States District Judge
                                                 Dated: 12/29/2020
      Southern District of New York
      The Hon. Charles L. Brieant Jr.                    White Plains, NY
      Federal Building and United States Courthouse
      300 Quarropas St.
      White Plains, NY 10601-4150

                               Re: Marsilio Langella v. Mahopac Central School District et al.,
                                   18 Civ. 10023 (NSR)
                                   Request for Seal Attachment to Opposition Brief

      Dear Judge Roman:

              I am attorney for Plaintiff Marsilio Langella in the above-referenced action. In anticipation
      of filing Plaintiff’s Memorandum of Law in Opposition to Defendants’ Motion to Dismiss the
      Amended Complaint, Plaintiff respectfully requests permission to file the March 18, 2018 letter
      under seal.

              Enclosed with Plaintiff’s Memorandum of Law is a copy of the March 18, 2018 letter as
      received by Principal Vaillancourt of Kennedy High School, which is referenced in the
      Memorandum of Law. Plaintiff included a copy of the letter as it clearly shows the defamatory
      nature of the letter and its attachments. Plaintiff respectfully requests permission to file the letter
      and its attachments under seal to prevent any further damage to Mr. Langella’s reputation based
      on the defamatory allegations in the letter which Mr. Langella disputes.

             Thank you very much for your consideration of this request.


                                                              Respectfully submitted,

                                                      By:     s/ Bryan Glass
                                                              Bryan D. Glass, Esq.
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c: Karen C. Rudnicki, Esq., Attorney for Defendants
